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                                   7                                   UNITED STATES DISTRICT COURT

                                   8                                  NORTHERN DISTRICT OF CALIFORNIA

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                                  10     TAJE GILL, ESTEROHANIE ST. JUSTE,                   Case No. 22-cv-04379-JSW
                                         and BENJAMIN VALDEZ, individually and
                                  11     on behalf of all others similarly situated,
                                                                                             ORDER GRANTING MOTION TO
                                                        Plaintiffs,                          REMAND
                                  12
Northern District of California
 United States District Court




                                                 v.                                          Re: Dkt. No. 23
                                  13

                                  14     UBER TECHNOLOGIES, INC. and LYFT,
                                         INC.,
                                  15                    Defendants.
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                                              Now before the Court is the motion to remand this action back to the Superior Court in the
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                                       County of San Francisco. Defendants Uber and Lyft removed the case the federal court on the
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                                       basis that Plaintiffs’ six state-law claims necessarily required the resolution of federal claims
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                                       under the Sherman Act. The Court GRANTS Plaintiffs’ motion to remand.
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                                                                                 BACKGROUND
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                                              In this action, three resident California rideshare drivers sued Uber and Lyft, two
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                                       companies based in California, to obtain redress in California state court for violations of
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                                       California’s antitrust and other business practice statutes, including damages caused while driving
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                                       in California and an injunction to stop further violations of California law. Defendants removed to
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                                       this Court arguing that Plaintiffs’ claims turn on a substantial federal question. (Notice of
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                                       Removal, ¶ 12.) Defendants contend that the complaint addresses alleged unilateral conduct in
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                                   1   abuse of market power and the California Cartwright Act does not apply to unilateral conduct.

                                   2   (See id. at ¶ 13, citing Dimidowich v. Bell & Howell, 803 F.2d 1473, 1478 (9th Cir. 1986), opinion

                                   3   modified on denial of reh’g, 810 F.2d 1517 (9th Cir. 1987).)

                                   4   A.      Legal Standard for a Motion to Remand.
                                   5           “[A]ny civil action brought in a State court of which the district courts of the United States

                                   6   have original jurisdiction, may be removed by the defendant . . . to the district court of the United

                                   7   States for the district and division embracing the place where such action is pending.” Franchise

                                   8   Tax Bd. v. Constr. Laborers Vacation Trust, 462 U.S. 1, 7-8 (1983) (citation omitted); see also 28

                                   9   U.S.C. § 1441(a). However, federal courts are courts of limited jurisdiction. See, e.g., Kokkonen

                                  10   v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994). Accordingly, the burden of

                                  11   establishing federal jurisdiction for purposes of removal is on the party seeking removal, and the

                                  12   removal statute is strictly construed against removal jurisdiction. Valdez v. Allstate Ins. Co., 372
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                                  13   F.3d 1115, 1117 (9th Cir. 2004); see also Gaus v. Miles, Inc., 980 F.2d 564, 566 (9th Cir. 1992).

                                  14   “Federal jurisdiction must be rejected if there is any doubt as to the right of removal in the first

                                  15   instance.” Gaus, 980 F.2d at 566.

                                  16           “In general, removal based on federal question jurisdiction is improper unless a federal

                                  17   claim appears on the face of a well-pleaded complaint.” Redwood Theatres, Inc. v. Festival

                                  18   Enterprises, Inc., 908 F.2d 477, 479 (9th Cir. 1990); accord City of Oakland v. BP PLC, 969 F.3d

                                  19   895, 903 (9th Cir. 2020). As the “’master of the claim,’ the plaintiff can generally ‘avoid federal

                                  20   jurisdiction by exclusive reliance on state law.’” City of Oakland, 969 F.3d at 904 (quoting

                                  21   Caterpillar Inc. v. Williams, 482 U.SW. 386, 392 (1987)).

                                  22           Under 28 U.S.C. § 1331, federal courts have jurisdiction over “all civil actions arising

                                  23   under the Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331. A case “arises

                                  24   under” federal law if a plaintiff’s “well-pleaded complaint establishes either that federal law

                                  25   creates the cause of action” or that the plaintiff's “right to relief under state law requires resolution

                                  26   of a substantial question of federal law in dispute between the parties.” Franchise Tax Bd. v.

                                  27   Constr. Laborers Vacation Tr. for S. Cal., 463 U.S. 1, 13, 27 (1983). In determining whether

                                  28   removal in a given case is proper, a court should “strictly construe the removal statute against
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                                   1   removal jurisdiction.” Gaus, 980 F.2d at 566. “Federal jurisdiction must be rejected if there is

                                   2   any doubt as to the right of removal in the first instance.” Id. The removing party therefore bears

                                   3   a heavy burden to rebut the presumption against removal. See id. “The removal statute is strictly

                                   4   construed, and any doubt about the right of removal requires resolution in favor of remand.”

                                   5   Moore-Thomas v. Alaska Airlines, Inc., 553 F.3d 1241, 1244 (9th Cir. 2009) (citing Gaus, 980

                                   6   F.2d at 566).

                                   7   B.     Requirements of Federal Question Jurisdiction Are Not Met.
                                   8          “[T]he mere presence of a federal issue in a state cause of action does not automatically

                                   9   confer federal-question jurisdiction.” Lippitt v. Raymond James Financial Services, Inc., 340 F.3d

                                  10   1033, 1040 (9th Cir. 2003) (quoting Merrell Dow Pharmaceuticals Inc. v. Thompson, 478 U.S.

                                  11   804, 808 (1986). “Federal question jurisdiction extends only in those cases in which a well-

                                  12   pleaded complaint establishes ‘either that federal law creates the cause of action or that the
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                                  13   plaintiff’s right to relief necessarily depends on a resolution of a substantial question of federal

                                  14   law.’” Easton v. Crossland Mortgage Corp., 114 F.3d 979, 982 (9th Cir. 1997) (quoting

                                  15   Franchise Tax Bd. v. Construction laborers Vacation Trust, 463 U.S. 1, 27-28 (1983)). Federal

                                  16   question jurisdiction only lies when “a state-law claim rises or falls on the plaintiff’s ability to

                                  17   prove the violation of a federal duty.” Merrill Lynch, Pierce, Fenner & Smith, Inc. v. Manning,

                                  18   578 U.S. 374, 383 (2016). This can happen only when “a state-law action necessarily depends on

                                  19   a showing that the defendant breached [a federal law].” See id.

                                  20          In this matter, Plaintiffs sue Defendants under the Cartwright Act as well as other

                                  21   California statutes. There is no federal claim pled. Instead, Defendants removed this action on the

                                  22   condition that Plaintiffs’ state law claims “reflect the unilateral – and thus federal – character of

                                  23   [Plaintiffs’] claims.” (Dkt. No. 1, ¶ 17.) However, the Court agrees with Plaintiffs that their

                                  24   antitrust claims are not premised upon unilateral conduct, but rather are premised upon vertical

                                  25   agreements allegedly to fix prices and restrain trade through anticompetitive practices such as

                                  26   minimum acceptance rates and non-linear pricing structures designed to limit the drivers’ ability to

                                  27   switch between rideshare platforms, consequently suppressing competition for the rideshare

                                  28   services. (See Complaint at ¶¶ 154-55, 160-63.)
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                                   1           Defendants’ argument goes to the merits of Plaintiff’s Cartwright Act claims, not the

                                   2   existence of a federal question. Should Plaintiffs’ state law claims not survive a demurrer or

                                   3   motion on the pleadings in state court, Plaintiffs will simply lose their claims on the merits. See,

                                   4   e.g., Dimidowich v. Bell & Howell, 803 F.2d 1473, 1478 (9th Cir. 2986) (“Dimidowich’s

                                   5   complaint did not allege a violation of the Sherman Act, section 2. 15 U.S.C. § 2 (1982). Since

                                   6   Dimidowich’s monopoly arguments fail to state a cognizable claim under California law, and

                                   7   since California law is all he pleaded, we affirm the district court’s dismissal of his

                                   8   monopolization and attempted monopolization claims.”) (diversity jurisdiction). If Plaintiffs lose

                                   9   on the merits of their California claims, they can appeal in the state court. See, e.g., Merrill Lynch,

                                  10   Pierce, Fenner & Smith Inc. v. Manning, 578 U.S. 374, 389 (2016) (“Out of respect for state

                                  11   courts, [the Supreme] Court has time and again declined to construe federal jurisdictional statute

                                  12   more expansively than their language, most fairly read, requires. [The Court] ha[s] reiterated the
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                                  13   need to give due regard to the rightful independence of state governments – and more particularly,

                                  14   to the power of the States to provide for the determination of controversies in their courts.”).

                                  15           The Court finds that Plaintiffs’ state law claims do not necessarily turn on any necessary

                                  16   question of federal law. Therefore, the requirements for federal jurisdiction are not met and the

                                  17   Court GRANTS Plaintiffs’ motion to remand to the Superior Court of the State of California, San

                                  18   Francisco County.

                                  19                                              CONCLUSION

                                  20           Accordingly, the Court GRANTS Plaintiffs’ motion to remand. The Clerk shall remand

                                  21   this action to the Superior Court of the State of California, County of San Francisco and shall

                                  22   close this file.

                                  23           IT IS SO ORDERED.

                                  24   Dated: December 5, 2022

                                  25                                                     ______________________________________
                                                                                         JEFFREY S. WHITE
                                  26                                                     United States District Judge
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